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NVB 10−2(b) (Rev. 3/15)


                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA


 IN RE:                                                      BK−24−50792−hlb
                                                             CHAPTER 7
 META MATERIALS INC.


                                  Debtor(s)                  ORDER GRANTING VERIFIED PETITION




The submitted document "Verified Petition for Permission to Practice in this Case Only by Attorney not Admitted to
the Bar of this Court" filed by BRADLEY A. COSMAN is GRANTED.



Dated: 4/2/25


                                                          Mary A. Schott
                                                          Clerk of Court
